        Case 3:22-cv-00211-SDD-SDJ            Document 258       08/18/23 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF LOUISIANA

PRESS ROBINSON, ET AL                                      CIVIL ACTION

VERSUS                                                     NO: 3:22-CV-00211

R. KYLE ARDOIN, in his official capacity
As Secretary of State of Louisiana

Consolidated with

EDWARD GALMON, ET AL                                        CIVIL ACTION

VERSUS                                                     NO: 3:22-CV-00214

R. KYLE ARDOIN, in his official capacity
As Secretary of State of Louisiana

             MOTION TO ENROLL ADDITIONAL COUNSEL OF RECORD

       NOW INTO COURT, through undersigned counsel, comes Defendant, R. KYLE

ARDOIN, in his official capacity as Secretary of State of Louisiana, who respectfully requests that

the following attorney be enrolled as additional counsel of record in the above numbered and

captioned matter: JOHN C. CONINE, JR. (La. Bar Roll No. 36834) of the law firm Shows, Cali

& Walsh, L.L.P., 628 St. Louis St. (70802), P.O. Drawer 4425, Baton Rouge, Louisiana, 70821;

telephone (225) 346-1461; facsimile (225) 346-1467, coninej@scwllp.com . JOHN C. CONINE,

JR. is a partner with the law firm Shows, Cali & Walsh, L.L.P., and he is admitted to practice in

the United States Court for the Middle District of Louisiana.

       WHEREFORE, Defendant, R. KYLE ARDOIN, in his official capacity as Secretary of

State of Louisiana, prays that this Motion to Enroll Additional Counsel of Record be GRANTED.

                                             Respectfully submitted:

                                             /s/John C. Walsh_________________
                                             John C. Walsh, La. Bar Roll No. 24903
                                             SHOWS, CALI & WALSH, LLP

                                                1
       Case 3:22-cv-00211-SDD-SDJ           Document 258       08/18/23 Page 2 of 2




                                           628 St. Louis Street (70802)
                                           P.O. Drawer 4425
                                           Baton Rouge, Louisiana 70821
                                           Telephone: (225) 346-1461
                                           Facsimile: (225) 346-1467
                                           Email: john@scwllp.com



                                           /s/Phillip J. Strach* (Lead Counsel)_
                                           phillip.strach@nelsonmullins.com
                                           Thomas A. Farr*
                                           tom.farr@nelsonmullins.com
                                           John E. Branch, III*
                                           john.branch@nelsonmullins.com
                                           Alyssa M. Riggins*
                                           alyssa.riggins@nelsonmullins.com
                                           Cassie A. Holt*
                                           cassie.holt@nelsonmullins.com
                                           NELSON MULLINS RILEY &
                                           SCARBOROUGH LLLP
                                           301 Hillsborough St., Ste 1400
                                           Raleigh, NC 27603
                                           Telephone: (919) 329-3800
                                           Facsimile: (919) 329-3799
                                           *Admitted pro hac vice


                                           Counsel for R. Kyle Ardoin, in his official capacity
                                           As Secretary of State of Louisiana




                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on the 18th day of August, 2023, a copy of the foregoing has
been served upon all counsel of record via CM/ECF system and has been filed electronically with
the Clerk of Court using the CM/ECF system.


                                     /s/ John C. Walsh___
                                        John C. Walsh




                                              2
